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              IN THE UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF DELAWARE

In re:                               )
                                     )         Chapter 11
RS FIT NW LLC,                       )
                                     )         Case No. 20-11568 (KBO)
                     Debtor.         )
                                     )         (Jointly Administered)
                                     )
                                     )
24 HOUR FITNESS WORLDWIDE, INC.,     )
                                     )
                     Plaintiff,      )
                                     )
           v.                        )
                                     )
CONTINENTAL CASUALTY COMPANY;        )         Adv. Pro. No. 20-51051 (KBO)
ENDURANCE AMERICAN SPECIALTY         )
INSURANCE COMPANY; STARR SURPLUS     )
LINES INSURANCE COMPANY; ALLIANZ     )
GLOBAL RISKS US INSURANCE COMPANY; )
LIBERTY MUTUAL INSURANCE COMPANY; )
BEAZLEY-LLOYD'S SYNDICATES 2623/623; )
ALLIED WORLD NATIONAL ASSURANCE      )
COMPANY; QBE SPECIALTY INSURANCE     )
COMPANY; and GENERAL SECURITY        )
INDEMNITY COMPANY OF ARIZONA,        )
                                     )
                     Defendants.     )
                                     )


PROPERTY INSURER DEFENDANTS' MOTION FOR SUMMARY JUDGMENT AND
              INCORPORATED MEMORANDUM OF LAW



                         EXHIBIT A-4

                     Policy No. 6013789648 issued by
                      Continental Casualty Company




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                                                                                               Policy Declarations
 CNA Insurance
 151 N. Franklin St.
 Chicago, IL 60606

Branch                        Producer Number                   Prefix                         Policy Number
620                           502321                            RMP                            6013789648


NAMED INSURED & ADDRESS:                                                      INSURANCE IS PROVIDED BY THE
                                                                              COMPANY DESIGNATED BELOW (A stock
24 HOUR FITNESS WORLDWIDE INC                                                 insurance company, herein called the company)
12647 ALCOSTA BLVD
5TH FLOOR                                                                     CONTINENTAL CASUALTY COMPANY
SAN RAMON, CA 94583

NAMED INSURED IS: Corporation


Policy Period: From June 30, 2019 to June 30, 2020
This policy becomes effective and expires at 12:01 a.m. Standard Time at Your Mailing Address Shown Above.


In Return For The Payment Of The Premium, And Subject To All The Terms Contained Herein, the Company
Agrees With the Named Insured To Provide The Insurance As Stated.
   “X” if Supplemental Declarations is attached
DESCRIPTION OF PREMISES
Per CNA BROKER Property Policy
COVERAGES PROVIDED – INSURANCE AT THE DESCRIBED PREMISES APPLIES ONLY FOR COVERAGES FOR
WHICH A LIMIT IS SHOWN
Per CNA BROKER Property Policy
OPTIONAL COVERAGES – APPLICABLE ONLY WHEN ENTRIES ARE MADE IN THE SCHEDULE BELOW
Per CNA BROKER Property Policy
MORTGAGE HOLDER(S)
Per CNA BROKER Property Policy
DEDUCTIBLE
Per CNA BROKER Property Policy
FORMS AND ENDORSEMENTS APPLICABLE AT TIME OF ISSUANCE:
APPLICABLE TO ALL COVERAGES: SEE ATTACHED SCHEDULE OF FORMS AND ENDORSEMENTS.




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                                                                                   Policy Declarations


TOTAL PREMIUM PAYABLE AT INCEPTION:                                                        $346,796.46
Premium includes the following amount for Terrorism coverage:                                    None
Total amount payable includes Taxes/Surcharges of:                                             $136.46


        Florida Fire College Trust Fund                                                         $39.80
        Florida Emergency Management Trust Fund                                                  $4.00
        Texas Firefighters Surcharge                                                            $19.52
        New York Fire Insurance Fee                                                             $49.49
        New Jersey Property and Liability Insurance Guaranty Assn.                              $23.65


IN WITNESS WHEREOF, the Company has caused this Policy to be signed by its Chairman and Secretary.




Chairman of the Board                                      Secretary




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                                                                                    Policy Holder Notice - Florida

                         IMPORTANT INFORMATION
                     FOR OUR FLORIDA BAP, PACKAGE AND PROPERTY
                                   POLICYHOLDERS
Per 1992 House Bill Number 141-H, every insurer transacting insurance in Florida is required to collect a surcharge of
0.1% on all Fire, Allied Lines and Multi-Peril insurance premiums written on commercial property located within the state.
The 0.1% surcharge will be applied to all coverage premiums on monoline property policies, BAP policies and package
policies.
The purpose of the surcharge is to develop funds for the Fire College Trust Fund.
If you have any questions, please contact your CNA independent agent.




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                                                                                    Policy Holder Notice - Florida

                        IMPORTANT INFORMATION
                    FOR OUR FLORIDA BAP, PACKAGE AND PROPERTY
                                  POLICYHOLDERS
As a result of Legislation, which was signed into law by Governor Chiles on April 29, 1993, insurers are to collect a
surcharge of $4.00 for each commercial fire, commercial multiple peril and business owner’s property insurance policy
issued or renewed on or after May 1, 1993. The surcharge should be paid by the insured to the insurer, who will remit the
surcharge in the same manner as the insurance premium tax to the Florida Department of Revenue. The proceeds will
be deposited into the Emergency Management, Preparedness, and Assistance Fund. If your policy has been assessed,
“FL Property Ins. Surcharge” with an amount will be displayed on your policy declarations. If you have any questions,
please contact your CNA independent agent.




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                                     Policy Holder Notice - Large Property Claims Reporting
All new property claims under CNA Large Property policies should be reported to our centralized Loss Processing Center.
Claims will be assigned to our specialized technical staff or to one of our preferred service providers.


FOR EMERGENCY CONTACT:

                Our 24-hour toll free number for direct contact with the CNA Loss Processing Center is:

                                                      877-261-6676

FOR NON-EMERGENCY:
                Property claims may be reported by toll free fax to the CNA Loss Processing Center at:

                                                      877-566-2728

                Property claims may also be reported via email to the CNA Loss Processing Center at:

                                              CNAproperty.LPC@cna.com

Claims reported by fax or email are processed during normal business hours. If your claim is an emergency requiring after
hours contact with an adjuster, call the 24-hour toll free number.




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                                                                           Policy Holder Notice - New Jersey
                           POLICYHOLDER NOTICE – NEW JERSEY PLIGA SURCHARGE


                        IMPORTANT INFORMATION
                                    "PLIGA" SURCHARGE
                                   FOR OUR NEW JERSEY
                              COMMERCIAL LINES POLICYHOLDERS

Your policy premium includes a New Jersey Property - Liability Insurance Guaranty Association (PLIGA) surcharge.
PLIGA protects consumers from insurance company insolvencies. The cost of this guaranty fund is assessed to all
insurance companies in New Jersey; and in compliance with Department of Insurance Order No. A18-105, it is passed
along to individual consumers via this surcharge.
The surcharge is 0.53% of your premium for all property/liability coverage except for life insurance, accident and health
insurance, workers' compensation insurance, title insurance, annuities, surety bonds, credit insurance, mortgage guaranty
insurance, municipal bond coverage, fidelity insurance, investment return assurance, ocean marine insurance, and pet
health insurance.
For purposes of this surcharge and in compliance with New Jersey Insurance Department Regulation N.J.S.A. 17:30A-8a
(3), the declarations page of this policy is the "premium bill."
If you have questions about the New Jersey - Liability Insurance Guaranty Association or this surcharge, please contact
your independent CNA agent.




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                                                   Policyholder Notice - Commercial Exempt Risk


                        IMPORTANT INFORMATION
                                      COMMERCIAL EXEMPT RISK
Notice to Arizona Industrial Insured Policyholders
       Pursuant to Arizona Revised Statutes Section 20-400.10, this policy and the rates charged for it have not
       been filed with or approved by the Director of the Arizona Department of Insurance. Certain provisions of
       Arizona law, specified in Arizona Revised Statutes Section 20-400.10, do not apply to this policy. If the
       insurer that issued this policy becomes insolvent, insureds or claimants will not be eligible for Insurance
       Guaranty Fund protection pursuant to Arizona Revised Statutes Title 20.
Notice to Colorado Exempt Commercial Policyholders
       This policy is exempt from the rate filing and approval and the form filing and certification requirements
       of the division of insurance.
Notice to District of Columbia Exempt Commercial Risk Policyholders
       NOTICE: This policy is issued to an exempt commercial risk. The rate and policy form are not subject to the filing,
       review, and approval requirements of the Commissioner.
Notice to Georgia Large Commercial Risk Policyholders
       The rates, rating plans or resulting premiums provided for in this policy are exempt from the filing and approval
       requirements of the Office of Commissioner of Insurance.
Notice to Kentucky Exempt Commercial Policyholders
       The rate provided for in this policy is exempt from the filing and approval requirements of Kentucky Revised
       Statutes Chapter 342.
Notice to Maine Large Commercial Policyholders
       The contract provisions, rates and rating plans provided for in this policy are exempt from the filing and approval
       requirements of the Bureau of Insurance.
Notice to Michigan Large Commercial Policyholders
       This policy is exempt from the filing requirements of section 2236 of the insurance code of 1956, 1956 PA 218,
       MCL 500.2236.
Notice to Missouri Large Commercial Policyholders
       This Policy may include rates and forms exempt from filing requirements with the Missouri Department of
       Insurance, Financial Institutions and Professional Registration.
Notice to New Hampshire Large Scale Commercial Insured Policyholders
       The policy applied for, including the rates, rating plans, resulting premiums, and the policy forms, are not
       subject to New Hampshire rate and form requirements and other provisions of the insurance law that
       apply to other commercial products and may contain significant differences from a policy that is subject
       to all insurance law provisions.
Notice to Pennsylvania Large Commercial Risk Policyholders
       The form of, and rates provided for in, this policy are exempt from the filing and approval requirements of the
       Pennsylvania Department of Insurance.
Notice to Rhode Island Commercial Special Risk Policyholders
       The form of, and rates provided for in, this policy are exempt from the filing and approval requirements of the
       Rhode Island Department of Insurance.
Notice to Tennessee Commercial Special Risk Policyholders
       The rate provided for in this policy and all forms utilized are exempt from the filing requirements of the
       Tenn. Code Ann. section 56-5-106.
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                                          PARTICIPATION PAGE

In consideration of the premium charged, the subscribers hereto, hereinafter referred to as the Insurer(s)
and/or Company(ies), do severally, but not jointly, agree to indemnify the Insured for the amount
recoverable in accordance with the terms and conditions of the Policy, pages 1 –35 (including Appendix A).

Provided that:

1.      The collective liability of Insurers shall not exceed the Limit of Liability or any appropriate Sublimit
        of Liability or any Annual Aggregate limit.
2.      The liability of each of the Insurers shall not exceed the Participation Limit set against its name
        with the exception of loss adjustment and professional fees which cost shall be 100% assumed by
        the Insurers on each applicable layer of insurance.

Insured:         24 Hour Holdings I Corp.

Policy Period:   June 30, 2019 – June 30, 2020

Nothing herein contained shall be held to vary, alter, waive or change any of the terms, limits or conditions
of the policy except as herein above set forth.


                                                        Participation
                                                                                   Authorized
       Insurer               Policy Number               (Excess of
                                                                                   Signature
                                                        Deductibles)
 Continental Casualty                              25% or $5,000,000 part of
                               6013789648            Primary $20,000,000
      Company




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1.     NAMED INSURED AND MAILING ADDRESS

     24 Hour Holdings I Corp.

24 Hour Holdings I Corp. and any and all subsidiary or affiliated companies, corporations, firms,
organizations, partnerships or joint ventures and/or any owned, whether wholly or partially, or controlled
company(ies) where the Insured maintains interest, or as now or hereafter constituted or acquired, as their
respective interests may appear or interests of others which the Insured is required by contract or other
agreement to insure.
     Herein after referred to as “The Insured”

     Mailing Address:             12647 Alcosta Blvd
                                  Suite 300
                                  San Ramon, CA 94583


2.     TERM OF INSURANCE

      This policy attaches and covers for a period of 12 Months from June 30, 2019 to June 30, 2020,
      beginning and ending at 12:01 A.M., standard time, at the location of the property involved.

      The actual effective time of attachment of this insurance on the above date shall be the same time as
      the actual effective time of cancellation or expiration of policy(ies) replaced or renewed by this policy.

3.     LIMITS OF LIABILITY

       The Company(ies) shall not be liable for more than its proportion of the following limits for any one
       occurrence, applicable separately to each limit, irrespective of the sequence of occurrences, whether
       or not proximate or ensuing as respects loss or damage arising out of all coverages insured against
       under this policy:

       A.    $50,000,000, except that the Company(ies) liability shall not exceed any of the specific
             sublimits of liability for any one occurrence designated in Clause B below;




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      B.    Sublimits:

           The liability of the Company(ies) resulting from loss or damage insured against shall not
           exceed more than its proportion of:

           1) $10,000,000            Accounts Receivable;
           2) 45 Days                Civil Authority;
           3) $25,000,000            Course of Construction including erection, installation & assembly;
           4) $5,000,000             Contingent Time Element and Contingent Extra Expense;
           5) $10,000,000            Electronic Data Processing Equipment and Media;
           6) $10,000,000            Extra Expense;
           7) $2,500,000             Fine Arts;
           8) 45 Days                Ingress/Egress;
           9) $2,500,000             Interruption by Communicable Disease;
           10) $2,500,000            Leader Properties;
           11) $1,000,000            Per conveyance as respects property in transit; each railroad car or
                                     trailer shall be considered a separate conveyance;

           12) $15,000,000           Miscellaneous Unnamed Locations;

           13) $10,000,000           Expediting Expenses;
           14) $15,000,000           Errors and Omissions;
           15) $2,500,000            Personal Property of Insured's officials,           employees,     and
                                     representatives while on insured's premises;

           16) $1,000,000            Professional Fees;
           17) $10,000,000           Service Interruption Property Damage and Service Interruption Time
                                     Element combined;

           18) $1,000,000            Soft Cost;
           19) $5,000,000            Valuable Papers and Records;
           20) $500,000              Exhibition, Exposition, Fair or Trade Show;
           21) $50,000,000           Machinery Breakdown;
           22) $5,000,000             Mold;


     C.     With respect to the peril of Flood, the Company(ies) shall not be liable, per occurrence and in
            any one policy year, for more than its proportion of $50,000,000 which shall apply to the peril
            of Flood. Even if the peril of Flood is the predominant cause of loss or damage, any ensuing
            loss or damage not otherwise excluded herein shall not be subject to any sublimits or
            aggregates specified in this Clause C.;

     D.     With respect to the peril of Flood to locations within Special Flood Hazard Areas (SFHA), areas
            of 100-year flooding, as defined by the Federal Emergency Management Agency, the
            Company(ies) shall not be liable, per occurrence and in any one policy year, for more than its
            proportion of $15,000,000 which shall apply to the peril of Flood. Even if the peril of Flood is




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             the predominant cause of loss or damage, any ensuing loss or damage not otherwise excluded
             herein shall not be subject to any sublimits or aggregates specified in this Clause D.;

     E.      With respect to the peril of Earthquake in Hawaii, Alaska, New Madrid Earthquake Counties,
             and Pacific Northwest Earthquake Counties, as defined in Appendix A, the Company(ies) shall
             not be liable, per occurrence and in any one policy year, for more than its proportion of
             $50,000,000 which shall apply to the peril of Earthquake. Even if the peril of Earthquake is
             the predominant cause of loss or damage, any ensuing loss or damage not otherwise excluded
             herein shall not be subject to any sublimits or aggregates specified in this Clause E.;

     F.      With respect to the peril of Earthquake in the State of California, the Company(ies) shall not
             be liable, per Occurrence and in any one policy year, for more than its proportion of
             $20,000,000 which shall apply to the peril of Earthquake. Even if the peril of Earthquake is
             the predominant cause of loss or damage, any ensuing loss or damage not otherwise excluded
             herein shall not be subject to any sublimits or aggregates specified in this Clause F.;

     G.      With respect to the peril of Earthquake not described above in Clauses E and F the
             Company(ies) shall not be liable, per Occurrence and in any one policy year, for more than its
             proportion of $50,000,000 which shall apply to the peril of Earthquake. Even if the peril of
             Earthquake is the predominant cause of loss or damage, any ensuing loss or damage not
             otherwise excluded herein shall not be subject to any sublimits or aggregates specified in this
             Clause G.;

     H.      With respect to the peril of Named Storm Wind in Tier 1 Counties as defined in Appendix A,
             the Company(ies) shall not be liable, per occurrence, for more than its proportion of
             $50,000,000 which shall apply to the peril of Named Storm Wind. Even if the peril of Named
             Storm Wind is the predominant cause of loss or damage, any ensuing loss or damage not
             otherwise excluded herein shall not be subject to any sublimits specified in this Clause H.;

     I.      Debris Removal Expenses: $5,000,000 or 25% of the amount of Property Damage and Time
             Element loss incurred, whichever is greater, for loss or damage arising out of one occurrence.

     J.      Pollutant Cleanup and Removal Expenses: $2,000,000 for loss arising out of one Occurrence
             and in any one policy year.

4.    PRIMARY DEDUCTIBLES

      All losses, damages or expenses arising out of any one occurrence shall be adjusted as one loss, and
      from the amount of such adjusted loss shall be deducted $250,000 except:

      A. For the peril of Flood, in any one occurrence:
         1) With respect to locations within Special Flood Hazard Areas (SFHA), areas of 100-year
            flooding, as defined by the Federal Emergency Management Agency (if these locations are not
            excluded elsewhere in this policy with respect to the peril of Flood), the deductible shall be
            $500,000 per building per occurrence for Real Property, $500,000 per building per occurrence
            for Personal Property, and $100,000 per building per occurrence for Time Element. However,
            this deductible shall not apply to ensuing loss or damage not otherwise excluded herein.

           2) With respect to any other flood loss, the deductible shall be $250,000 for any one
              occurrence.

          In the event that the Insured maintains underlying insurance through the National Flood
          Insurance Program, it is agreed that this policy excludes the peril of flood to the extent of
          recovery under such National Flood Insurance Policy(s). Should the amount of loss payable under
          such National Flood Insurance Policy(s) exceed the applicable flood deductible under this policy,


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          then no deductible shall apply hereunder. However, if the amount to be paid under such National
          Flood Insurance Policy(s) is less than the applicable flood deductible under this policy, then the
          amount to be deducted hereunder shall not exceed the difference between the amount to be paid
          under the Insured's National Flood Insurance Policy(s) and the applicable flood deductible under
          this policy. Insurance maintained through the National Flood Insurance Program shall be
          considered Underlying Insurance.

      B. For the peril of Earthquake, in any one occurrence:

           1) 5% of the total values at the time of loss at each location where the insured files a claim
              within the state of California for the peril of Earthquake, subject to a minimum of $250,000
              per location for any one occurrence. However, this deductible shall not apply to ensuing loss
              or damage not otherwise excluded herein.

          2) 2% of the total values at the time of loss at each location where the insured files a claim when
             such loss occurs at locations within the entire state of Hawaii, Alaska, New Madrid Earthquake
             Counties, and Pacific Northwest Earthquake Counties as defined in Appendix A, for the peril of
             Earthquake subject to a minimum of $250,000 per occurrence. However, this deductible shall
             not apply to ensuing loss or damage not otherwise excluded herein.

          3) $250,000 for loss from the peril of Earthquake for all other locations per occurrence.

      C. For the peril of Named Storm Wind, in any one Occurrence

           1) 5% of the total values at the time of loss at each location where the insured files a claim
              when such loss occurs at locations within Florida, Hawaii, or Harris County, Texas, subject to
              a minimum of $250,000 for any one occurrence.

           2) 2% of the total values at the time of loss at each location where the insured files a claim
              when such loss occurs at locations within Tier 1 areas as defined in Appendix A (except for
              Florida, Hawaii and Harris County, Texas), subject to a minimum of $250,000 for any one
              occurrence.

           3) With respect to all other locations, all loss, damage, and/or expense arising out of any one
              occurrence shall be adjusted as one loss, and from the amount of each such adjusted loss
              shall be deducted the sum of $250,000 ;

               All reference herein to “Tier One”, “Tier 1 Windstorm” or similar “Tier 1” references, shall be
               defined as all locations situated within Tier 1 Counties as defined in Appendix A.


               NAMED STORM OCCURRENCE:

               All loss or damage occurring during a period of 120 consecutive hours which is caused by or
               results from a storm or weather disturbance which is named by the National Weather
               Service. Storm or weather disturbance includes all weather phenomenon associated with or
               occurring in conjunction with the storm or weather disturbance, including, but not limited to
               flood, storm surge, wind, hail, sleet, tornadoes, hurricane or lightning.

     D.       Service Interruption: With respect to any Service Interruption, “the duration of such
              interruption” referred to in the policy must be in excess of 24 hours.

     E.       Transit: $10,000

     F.       Machinery Breakdown: $10,000


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     If two or more deductible amounts in this policy apply to a single occurrence, the total to be
     deducted shall not exceed the largest deductible.

     In any occurrence where loss or damage is caused by more than one peril insured against under this
     policy, the Insured shall have the right to separate the loss amount by peril for the purposes of
     application of the deductible(s) specified in this section, notwithstanding the above reference to two
     or more deductibles and the policy limits.

     As respects theft, the term Occurrence as referred to elsewhere within the policy means the sum
     total of all losses of covered property resulting from one or more concealed acts committed by one
     person or more than one person acting in unison to the extent such loss is not otherwise excluded
     under this policy.

     The deductible amounts specified above shall not apply to general average contributions, salvage
     charges and sue and labor expenses.

5.    LOSS PAYABLE

      Loss, if any, shall be adjusted with and payable to 24 Hour Holdings I Corp., or order whose receipt
      shall constitute a release in full of all liability under this policy with respect to such loss.

6.    TERRITORY

      This policy covers loss occurring anywhere within the 50 states comprising the United States of
      America including the District of Columbia.

7.    COVERAGE

      Except as hereinafter excluded, this policy covers;

      A.    Real and Personal Property

            1)     The interest of the Insured in all real and personal property including but not limited to
                   property owned, used, leased or intended for use by the Insured, or hereafter
                   constructed, erected, installed, or acquired, including while in course of construction,
                   erection, installation, and assembly. In the event of loss or damage, the Company(ies)
                   agrees to accept and consider the Insured as sole and unconditional owner of
                   improvements and betterments, notwithstanding any contract or leases to the contrary.

            2)     The interest of the Insured in real and personal property of others in the Insured’s care,
                   custody, or control.

            3)     Real and personal property which the Insured is responsible for or has agreed to insure.

            4)     At the option of the Insured, personal property of the Insured’s officials, employees and
                   representatives while on the premises of the Insured. This insurance shall then act as
                   primary insurance, except as respects employees’ automobiles.

            5)     Contractors’ and vendors’ interest in property covered to the extent of the Insured’s
                   liability imposed by law or assumed by contract, whether written or oral.




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      B.    Business Interruption

            1)    Loss resulting from necessary interruption of business conducted by the Insured,
                  whether total or partial, and caused by loss, damage, or destruction covered herein
                  during the term of this policy to real and personal property as described in Clause 7.A.

            2)    If such loss occurs during the term of this policy, it shall be adjusted on the basis of
                  ACTUAL LOSS SUSTAINED by the Insured, consisting of the net profit which is thereby
                  prevented from being earned and of all charges and expenses only to the extent that
                  these must necessarily continue during the interruption of business excluding Ordinary
                  Payroll and only to the extent such charges and expenses would have been earned had
                  no loss occurred.

                  “Ordinary payroll” is defined to be the entire payroll expense for all employees of the
                  Insured except officers, executives, department managers, employees under contract,
                  and other important employees as determined by the Insured.

            3)    In the event of loss, damage, or destruction covered herein to property as described in
                  Clause 7.A, which results in an interruption of research and development activities which
                  in themselves would not have produced income during the indemnity period, this policy
                  shall cover the actual loss sustained of the continuing fixed charges and expenses,
                  including Ordinary Payroll directly attributable to such research and development
                  activities.

            4)    However, the Company(ies) shall not be liable under this Clause B. for any loss resulting
                  from damage to or destruction of finished stock nor for the time required to reproduce
                  said finished stock. Finished stock shall mean stock manufactured by the Insured which
                  in the ordinary course of the Insured’s business is ready for packing, shipment, or sale.

            5)    Resumption of Operations: If the Insured, by reasonable means within its control, could
                  reduce the loss resulting from the interruption of business:

                  (a)      by a complete or partial resumption of operation of the property insured, whether
                           damaged or not; or

                  (b)      by making use of available stock, merchandise, or other property; such reduction
                           shall be taken into account in arriving at the amount of loss hereunder.

            6)    Experience of the Business:

                  (a)      In determining the amount of net profit, charges and expenses covered
                           hereunder for the purpose of ascertaining the amount of loss sustained, due
                           consideration shall be given to the experience of the business before the date of
                           damage or destruction and to the probable experience thereafter had no loss
                           occurred to real or personal property as described in Clause 7.A.

                  (b)      With respect to alterations, additions, and property while in the course of
                           construction, erection, installation, or assembly, due consideration shall be given
                           to the available experience of the business after completion of the construction,
                           erection, installation, or assembly.

                  (c)      With respect to property under course of construction, delay in opening caused
                           by an insured peril, loss shall be deemed an insured loss for business interruption
                           purposes if the business operations fail to begin on the scheduled completion
                           date existing at the time of insured loss, all other issues being equal. The loss


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                           amount shall be determined by evaluating the actual income experienced after
                           actual reopening and applying said levels of income experienced for the time
                           delay period. The time delay period is equal to the difference between the actual
                           opening date of operation and the scheduled completion date existing at the
                           time of the insured loss.

      C.    Extra Expense

             (1)     Extra Expense incurred resulting from physical loss, damage, or destruction covered
                     herein during the term of this policy to real or personal property as described in
                     Clause 7.A.

      D.    Rental Value

             (1)     Rental Value loss sustained by the Insured resulting directly from the necessary
                     untenantability, during the period of restoration caused by loss, damage, or
                     destruction covered herein during the term of this policy to real and personal
                     property as described in Clause 7.A. but not exceeding the reduction in rental value
                     less charges and expenses which do not necessarily continue during the period of
                     untenantability.

             (2)     “Rental Value” is defined as the sum of:

                     (a) the total anticipated gross rental income from tenant occupancy of the described
                         property as furnished and equipped by the Insured; and

                     (b) the amount of all charges which are the legal obligation of the tenant(s) and
                         which, because of loss, would otherwise be obligations of the Insured; and

                     (c) the fair rental value of any portion of said property which is occupied by the
                         Insured.
             (3)     Experience of the Business:

                     (a) In determining the amount of rental value covered hereunder for the purposes of
                         ascertaining the amount of loss sustained, due consideration shall be given to
                         the rental experience before the date of damage or destruction and to the
                         probable experience thereafter had no loss occurred to real and personal
                         property as described in Clause 7.A.

                     (b) With respect to alterations, additions, and property while in the course of
                         construction, erection, installation, or assembly, due consideration shall be given
                         to the available rental experience of the business after completion of the
                         construction, erection, installation, or assembly.

      E.    Royalties

             (1)     Loss of income to the Insured under royalty, licensing fees, management fees and/or
                     commission agreements between the Insured and another party which is not
                     realizable due to loss, damage, or destruction by any of the perils covered herein
                     during the term of this policy to property of the other party.

             (2)     If such loss occurs during the term of this policy, it shall be adjusted on the basis of
                     ACTUAL LOSS SUSTAINED of such income referred to in paragraph 1 above, which
                     would have been earned had no loss occurred.




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             (3)     Resumption of Operations: The Insured shall influence, to the extent reasonably
                     possible, the party with whom the agreement described in paragraph 1 above has
                     been made to use any other machinery, supplies or locations in order to resume
                     business so as to reduce the amount of loss hereunder, and the Insured shall
                     cooperate with that party in every reasonable way to effect this, but not financially
                     unless such expenditures shall be authorized and paid by the Company(ies).

             (4)     Experience of the Business: In determining the amount of income derived from the
                     agreement(s) described in paragraph 1 above for the purpose of ascertaining the
                     amount of loss sustained, due consideration shall be given to the amount of income
                     derived from such agreement(s) before the date of damage or destruction and to the
                     probable amount of income thereafter had no loss occurred to real and personal
                     property of the type insured under this policy of such other party.

      F.    Time Element Extensions

             (1)    This policy, subject to all provisions and without increasing the limits of this policy,
                    also insures against loss resulting from damage to or destruction by causes of loss
                    insured against, to:

                    (a) Contingent Time Element and Contingent Extra Expense: property that wholly or
                        partially prevents any direct supplier of goods and/or services to the Insured
                        from rendering their goods and/or services, or property that wholly or partially
                        prevents any direct receiver of goods and/or services from the Insured from
                        accepting the Insured’s goods and/or services, such supplier or receiver to be
                        located anywhere within the 50 states comprising the United States of America
                        including the District of Columbia.

                           There is no liability for any loss resulting from Contingent Time Element and
                           Contingent Extra Expense that is insured under subparagraph identified as
                           Service Interruption (Clause 7.K).

                    (b) Impounded Water: dams, reservoirs, or equipment connected therewith when
                        water, used as a raw material or used for power or for other purposes, stored
                        behind such dams or reservoirs is released from storage and causes an
                        interruption of business, not to exceed 30 consecutive days, as a result of lack of
                        water supply from such sources;

                    (c)    Leader Property: property not owned or operated by the Insured, located within
                           (5) statute miles of the Insured premises, which attracts business to the Insured.

             (2)    Interruption by Civil or Military Authority: This policy is extended to cover the loss
                    sustained during the period of time when access to real or personal property is
                    prohibited by order or action of civil or military authority issued in connection with or
                    following a peril insured against within five (5) statute miles of the insured premises
                    and for a period not to exceed thirty (30) days.

             (3)    Ingress/Egress: This policy is extended to cover the loss sustained during the period
                    of time when, in connection with or following a peril insured against, access to or
                    egress from real or personal property is prevented within five (5) statute miles of the
                    insured premises and for a period not to exceed thirty (30) days.

     G.     Provisions Applicable to Business Interruption, Extra Expense, Rental Value and
            Royalties Coverages




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            (1)       Period of Recovery: The length of time for which loss may be claimed:

                      (a) shall not exceed such length of time as would be required:

                           (i.)    with the exercise of due diligence and dispatch to rebuild, repair, or
                                   replace such part of the property as has been destroyed or damaged;

                           (ii.)   to restore the interrupted services to the premises and the premises made
                                   ready for normal operations when such interruption is caused by an
                                   accidental occurrence;

                      (b) and, such additional length of time to restore the Insured’s business to the
                          condition that would have existed had no loss occurred, commencing with the
                          later of the following dates:

                           (i.)    the date on which the liability of the Company(ies) for loss or damage
                                   would otherwise terminate; or

                           (ii.)   the date on which repair, replacement, or rebuilding of the property that
                                   has been damaged is actually completed;

                           but in no event for more than 365 consecutive calendar days from said later
                           commencement date;

                      (c) with respect to alterations, additions and property while in the course of
                          construction, erection, installation, or assembly shall be determined as provided
                          in subparagraph (a) above, but such determined length of time shall be applied
                          to the experience of the business after the business has reached its planned level
                          of production or level of business operations;

                      (d) shall commence with the date of such loss or damage and shall not be limited by
                          the date of expiration of this policy or cancellation date.

            (2)       Special Exclusions: This section of the policy does not insure against any increase of
                      loss which may be occasioned by the suspension, lapse, or cancellation of any lease,
                      license, contract, or order; nor for any increase of loss due to interference at the
                      Insured’s premises by strikers or other persons with rebuilding, repairing, or
                      replacing the property damaged or destroyed, or with the resumption or continuation
                      of business, or with the reoccupancy of the premises.

            (3)       Expense to Reduce Loss: This policy also covers such expenses incurred for the
                      purpose of reducing any loss under this policy, even though such expenses may
                      exceed the amount by which the loss under this policy is thereby reduced.

      H.    Transit

            (1)     Property in transit within and between the territorial limits of this policy, including the
                    coastal waters thereof, by any means of conveyance, from the time the property is
                    moved for purpose of loading and continuously thereafter while awaiting and during
                    loading and unloading and in temporary storage, including temporary storage on any
                    conveyance intended for use for any outbound or used for inbound shipment,
                    including during deviation and delay, until safely delivered and accepted into place of
                    final destination.

            (2)     This insurance is extended to cover loss or damage to property:



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                    (a) sold and shipped by the Insured under terms of F.O.B. point of origin or other
                        terms usually regarded as terminating the shipper’s responsibility short of points
                        of delivery;

                    (b) arising out of any unauthorized person(s) representing themselves to be the
                        proper party(ies) to receive goods for shipment or to accept goods for delivery;

                    (c)    occasioned by the acceptance by the Insured, by its agents, or by its customers
                           of fraudulent bills of lading, shipping and delivery orders, or similar documents;

                    (d) at the Insured’s option, which is incoming to the Insured.

            (3)     (a)     The Insured may waive right(s) of recovery against private, contract, and
                           common carriers and accept bills of lading or receipts from carriers, bailees,
                           warehousemen, or processors limiting their liability, but this transit insurance
                           shall not inure to the benefit of any carrier, bailee, warehouseman, or processor.

                    (b) With respect to shipments made under subparagraphs 2(a) and 2(d) above, the
                        Company(ies) agrees to waive its rights of subrogation against consignees at the
                        option of the Insured.

            (4)     The Insured is not to be prejudiced by any agreements exempting lightermen from
                    liability.

            (5)     Seaworthiness of any vessel or watercraft and airworthiness of any aircraft are
                    admitted between the Company(ies) and the Insured.

      I.    Accounts Receivable

            (1)     All sums due the Insured from customers, provided the Insured is unable to effect
                    collection thereof as the direct result of loss of or damage to records of accounts
                    receivable;
            (2)     Interest charges on any loan to offset impaired collections pending repayment of such
                    sums made uncollectible by such loss or damage;

            (3)     Collection expense in excess of normal collection cost and made necessary by such
                    loss or damage;

            (4)     Other expenses, when reasonably incurred by the Insured in reestablishing records of
                    accounts receivable following such loss or damage.

            For the purpose of this insurance, credit card company charge media shall be deemed to
            represent sums due the Insured from customers, until such charge media is delivered to the
            credit card company.

            When there is proof that a loss of records of accounts receivable has occurred but the Insured
            cannot more accurately establish the total amount of accounts receivable outstanding as of
            the date of such loss, such amount shall be computed as follows:

            (1)     The monthly average of accounts receivable during the last available twelve months
                    shall be adjusted in accordance with the percentage increase or decrease in the
                    twelve months average of monthly gross revenues which may have occurred in the
                    interim.




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            (2)     The monthly amount of accounts receivable thus established shall be further adjusted
                    in accordance with any demonstrable variance from the average for the particular
                    month in which the loss occurred, due consideration being given to the normal
                    fluctuations in the amount of accounts receivable within the fiscal month involved.

            There shall be deducted from the total amount of accounts receivable, however established,
            the amount of such accounts evidenced by records not lost or damaged, or otherwise
            established or collected by the Insured, and an amount to allow for probable bad debts which
            would normally have been uncollectible by the Insured.

      J.    Leasehold Interest

            (1)   Pro rata proportion from the date of loss to expiration date of the lease (to be paid
                  without discount) on the Insured’s interest in:

                  (a)      the amount of bonus paid by the Insured for the acquisition of the lease not
                           recoverable under the terms of the lease;

                  (b)      improvements and betterments to real property which are not covered under any
                           other section of this policy;

                  (c)      the amount of advance rental paid by the Insured and not recoverable under the
                           terms of the lease;

                  when property is rendered wholly or partially untenantable by any covered loss during
                  the term of this policy and the lease is canceled by the party not the Named Insured by
                  this policy in accordance with the conditions of the lease or by statutory requirements of
                  the appropriate jurisdiction in which the damaged or destroyed property is located; and

            (2)   (a) “The Interest of the Insured as Lessee or Lessor” when property is rendered wholly
                      or partially untenantable by any covered loss during the term of this policy and the
                      lease is canceled by the party not the Named Insured under this policy in
                      accordance with the conditions of the lease or by statutory requirements of the
                      appropriate jurisdiction in which the damaged or destroyed property is located.

                  (b)      “The Interest of the Insured as Lessee or Lessor” as referred to herein shall be
                           paid for the first three months succeeding the date of the loss and the “Net
                           Lease Interest” shall be paid for the remaining months of the unexpired lease.

            (3)   Definitions:

                  The following terms, wherever used in this section shall mean::

                  (a) “The Interest of the Insured as Lessee” is defined as:

                           (i)    the excess of the rental value of similar premises over the actual rental
                                  payable by the lessee (including any maintenance or operating charges
                                  paid by the lessee) during the unexpired term of the lease; and

                           (ii)   the rental income earned by the Insured from sublease agreements, to the
                                  extent not covered under any other section of this policy, over and above
                                  the rental expenses specified in the lease between the Insured and the
                                  lessor.




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                  (b) “The Interest of the Insured as Lessor” is defined as the difference between the
                      rents payable to the lessor under the terms of the lease in effect at the time of loss
                      and the actual rent collectible by the lessor during the unexpired term of the lease
                      provided the lease is canceled by the lessee, to the extent not covered under any
                      other section of this policy.

                  (c) “Net Lease Interest” is defined as that sum, which placed at 6% interest
                      compounded annually will be equivalent to the “The Interest of the Insured as
                      Lessee or Lessor.”

            (4)   The Company(ies) shall not be liable for any increase of loss which may be occasioned
                  by the suspension, lapse or cancellation of any license or by the Named Insured
                  exercising any option to cancel the lease. Furthermore, the Named Insured shall use
                  due diligence including all things reasonably practicable to diminish loss under this
                  clause.

      K.    Service Interruption

                  This policy is extended to cover physical loss or damage to Insured Property and/or
                  Time Element Coverage arising from a Covered Cause of Loss to: (1) incoming
                  electrical, gas, water, or telecommunications equipment or outgoing sewer or (2)
                  electrical, telecommunications, fuel, water, steam, refrigeration, or other service
                  transmission lines, all situated outside the Insured Locations.

                  There shall be no loss payable under this additional coverage unless the interruption
                  exceeds the qualifying period shown. In such case, the loss shall be measured from
                  date and time of the loss. With respect to any Time Element Coverage provided herein,
                  the Period of Interruption ends when: (1) incoming electrical, gas, water, or
                  telecommunications equipment or outgoing sewer or (2) electrical, telecommunications,
                  fuel, water, steam, refrigeration, or other service transmission lines is restored. The
                  sublimit set forth applies to all loss or damage to Insured Property and Time Element
                  Coverage combined arising out of one Service Interruption.

                  The Company(ies) will not be liable if the interruption of such utility or service is caused
                  directly or indirectly by the failure of the Insured to comply with the terms and
                  conditions of any contracts the Insured has for the supply of such specified utilities or
                  services.

                  The Insured will immediately notify the suppliers of utilities or services of any
                  interruption of such services.

                  There is no liability for any loss resulting from the interruption of the business that is
                  insured under subparagraph identified as Contingent Time Element.

                  Definition: Wherever used in this policy, the term “Time Element” means any one or all
                  of the following coverages: Business Interruption, Extra Expense, Rental Value,
                  Leasehold Interest, Royalties and Time Element Extensions described herein.

8.    COVERAGE EXTENSIONS

      A. Demolition and Increased Cost of Construction

           In the event of loss or damage under this policy that causes the enforcement of any law,
           ordinance, governmental directive or standard regulating the construction, repair, use, or
           occupancy of property, the Company(ies) shall be liable for:



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           1) the cost of demolishing the undamaged property including the cost of clearing the site;

           2) the proportion that the value of the undamaged part of the property bore to the value of
              the entire property prior to loss;

           3) increased cost of repair or reconstruction of the damaged and undamaged property on the
              same or another site, limited to the cost that would have been incurred in order to comply
              with the minimum requirements of such law or ordinance regulating the repair or
              reconstruction of the damaged property on the same site. However, the Company(ies) shall
              not be liable for any increased cost of construction loss unless the damaged property is
              actually rebuilt or replaced;

           4) any increase in the business interruption, extra expense, rental value or royalties loss arising
              out of the additional time required to comply with said law or ordinance.

      B.     Debris Removal

             This policy covers the following expenses resulting from a covered loss:

             (1)   the cost of removal of debris of property covered hereunder;

             (2)   the cost of removal of debris of property not covered hereunder from the premises of
                   the Insured;

      C.    Expediting Expense

            This policy covers the extra cost of temporary repair and/or replacement and of expediting the
            repair and/or replacement of damaged property insured hereunder, including, but not limited
            to, overtime and express freight or other rapid means of transportation.

      D.    Professional Fees

             This Policy is extended to include reasonable and necessary expenses incurred by the Insured
             for preparing and certifying particulars or details of the insured’s business in order to
             determine the amount of loss payable under this policy. There shall be no coverage under
             this policy for expenses incurred by the Insured in utilizing the services of Attorneys, Public
             Adjusters, Insurance Agents or Brokers, or any of their subsidiary, related or associated
             entities. This Policy also excludes any fees or costs for consultation on coverage or
             negotiation of claims, and the costs or expenses of overhead or operating expenses of any
             Insured, including salaries of such Insured’s employees.


      E.     Fire Brigade Charges and Extinguishing Expenses

            This policy covers the following expenses resulting from a covered loss:

             (1)   fire brigade charges and any extinguishing expenses which the Insured incurs;

             (2)   loss and disposal of fire extinguishing materials expended.

      F.     Defense Costs

            This policy, subject to all of its provisions, also insures the costs and fees to defend any claim
            or suit against the Insured and/or its directors, officers and/or employees alleging physical loss



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            or damage as insured against to property of others in the care, custody or control of the
            Insured to the extent of the Insured’s liability therefore, even if such claim or suit is
            groundless, false or fraudulent; but the Company(ies) may without prejudice make such
            investigation, negotiation or settlement of any such claim or suit as it deems expedient.

      G.    Consequential Loss

            (1)        In the event of loss or damage not otherwise excluded to property, and such damage,
                       without the intervention of any other independent excluded cause, results in a
                       sequence of events which causes physical damage to insured property, then there
                       shall be liability under the policy for the resulting loss.

            (2)        This policy also insures against consequential loss to the property insured caused by
                       but not limited to change of temperature or humidity or by interruption of power,
                       heat, air conditioning, or refrigeration resulting from loss or damage not otherwise
                       excluded.

            (3)        This policy also insures the reduction in value to the remaining part or parts of any lot
                       of merchandise usually sold by lots or sizes, color ranges, or other classifications due
                       to damage to or destruction of a part of such lots or other classifications due to a
                       cause of loss not otherwise excluded.

      H.    Control of Damaged Merchandise

            The Insured, exercising a reasonable discretion, shall be the sole judge as to whether the
            goods involved in any loss under this policy are fit for normal intended use or consumption.
            No goods so deemed by the Insured to be unfit for consumption shall be sold or otherwise
            disposed of except by the Insured or with the Insured’s consent, but the Insured shall allow
            the Company(ies) any salvage obtained by the Insured on any sale or other disposition of such
            goods. The Insured shall have full right to the possession of all goods involved in any loss
            under this policy.

      I.    Brands or Trademarks

            In case of damage insured against to property bearing a brand or trademark or which in any
            way carries or implies the guarantee or the responsibility of the manufacturer or Insured, the
            salvage value of such damaged property shall be determined after removal at the
            Company’s(ies) expense in the customary manner of all such brands or trademarks or other
            identifying characteristics.

      J.   Automatic Coverage (Newly Acquired)

           This Policy covers all property at any location rented, leased or purchased by the Insured after
           the inception date of this policy. This coverage applies from the date of rental, lease or
           purchase. Newly acquired locations should be reported to the Company within 180 days of
           acquisition.

      K.   Machinery Breakdown Extensions

           (1) Spoilage

                  The Company(ies) will pay for the spoilage damage to raw materials, property in process
                  or finished products, provided all of the following conditions are met:

                  a)   The raw materials, property in process or finished products must be in storage or in



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                       the course of being manufactured;

                  b)   The Insured must own or be legally liable under written contract for the raw
                       materials, property in process or finished products; and

                  c)   The spoilage damage must be due to the lack or excess of power, light, heat, steam
                       or refrigeration.

                  The Company (ies) will also pay any necessary expenses the Insured incurs to reduce the
                  amount of loss under this coverage. The Company(ies) will pay such expenses to the
                  extent that they do not exceed the amount of loss that otherwise would have been
                  payable under this coverage form.

             (2) Hazardous Substance

                  The Company(ies) will pay any additional expenses incurred by the Insured for the clean-
                  up, repair or replacement or disposal of Real and Personal Property that is damaged,
                  contaminated or polluted by a Hazardous Substance caused by an Accident.

                  As used here, additional expenses mean the additional cost incurred over and above the
                  amount that the Company(ies) would have paid had no Hazardous Substance been
                  involved with the loss.

                   Hazardous Substance means any substance other than ammonia that has been declared
                   to be hazardous to health by a government agency.

                 Ammonia is not considered to be a Hazardous Substance as respects this limitation.
             (3) Ammonia Contamination

                  The Company(ies) will pay the spoilage to covered property contaminated by ammonia,
                  including any salvage expense caused by an Accident.

             (4) CFC Refrigerants

                  The Company(ies) will pay for the additional cost to repair or replace Real and Personal
                  Property because of the use or presence of a refrigerant containing CFC (chlorinated
                  fluorocarbon) substances if the loss is caused by an Accident. This means the additional
                  expense to do the least expensive of the following:

                  a)    Repair the damaged property and replace any lost CFC refrigerant;

                  b)    Repair the damaged property, retrofit the system to accept a non-CFC refrigerant
                        and charge the system with a non-CFC refrigerant; or

                  c)    Replace the system with one using a non-CFC refrigerant.

9.     PERILS INSURED AGAINST

     This policy insures against:

       A.    All risk of direct physical loss or damage to property described herein including general
             average, salvage and all other charges on shipments covered hereunder, except as hereinafter
             excluded.

       B.    Service Interruption as set forth under Clause 7. K.



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10.   PERILS EXCLUDED

      This policy does not insure:

      A. against any fraudulent or dishonest act or acts committed by the Insured or any of the Insured’s
         employees meaning only dishonest or fraudulent acts committed by the Insured or the Insured’s
         employees with the manifest intent to:

           (1)         cause the Insured to sustain such loss, and

           (2)         obtain financial benefit for the Insured, Insured’s employee, or for any other person or
                       organization intended by the Insured or the employee to receive such benefit, other
                       than salaries, commissions, fees, bonuses, promotions, awards, profit sharing, pensions,
                       or other employee benefits earned in the normal course of employment.

           This exclusion does not apply to acts of damage or destruction by employees, but theft by
           employees is not covered.

      B. against the cost of making goods defective design or specifications, faulty material, or faulty
         workmanship; however, this exclusion shall not apply to loss or damage resulting from such
         defective design or specifications, faulty material, or faulty workmanship;

      C. against errors in processing or manufacture of the Insured’s product unless loss or damage not
         otherwise excluded ensues and then this policy shall cover for such ensuing loss or damage;

      D. against ordinary wear and tear, or gradual deterioration unless loss or damage not otherwise
         excluded ensues and then this policy shall cover for such ensuing loss or damage;

      E. against normal settling or normal shrinkage of walls, floors, or ceilings unless loss or damage not
         otherwise excluded ensues and then this policy shall cover for such ensuing loss or damage;

      F. against nuclear reaction, or nuclear radiation, or radioactive contamination, all whether
         controlled or uncontrolled, and whether such loss be direct or indirect, proximate or remote;
         except:

           (1)          if fire ensues, liability is specifically assumed for direct loss by such ensuing fire but
                        not including any loss due to nuclear reaction, nuclear radiation, or radioactive
                        contamination;

           (2)          the Company(ies) shall be liable for loss or damage caused by sudden and accidental
                        radioactive contamination including resultant radiation damage for each occurrence
                        from material used or stored or from processes conducted on an insured premises
                        provided at the time of loss there is neither a nuclear reactor capable of sustaining a
                        nuclear fission in a self-supporting chain reaction nor any new or used nuclear fuel on
                        the insured premises;

      G.         (1)   against warlike action in time of peace or war, including action in hindering, combating,
                       or defending against an actual, impending, or expected attack:

                       (a) by any government or sovereign power (de jure or de facto) or by any authority
                           maintaining or using military, naval, or air forces;

                       (b) or by military, naval, or air forces;

                       (c) or by an agent of any such government, power, authority, or forces;



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            (2)     against any weapon employing atomic fission or fusion;

            (3)     against rebellion, revolution, civil war, usurped power, or action taken by governmental
                    authority in hindering, combating, or defending against such occurrence;

            (4)     against seizure or destruction by order of public authority, except destruction by order
                    of public authority to prevent the spread of, or to otherwise contain, control or minimize
                    loss, damage or destruction not otherwise excluded under this policy;

            (5)     against risks of contraband or illegal trade.

            Notwithstanding the above provisions, G. (1), (3), (4), and (5), this insurance shall cover loss
            or damage directly caused by acts committed by an agent of any government, party, or
            faction engaged in war, hostilities, or warlike operations, provided such agent is acting secretly
            and not in connection with any operation of armed forces (whether military, naval, or air
            forces) in the country where the property is situated. Nothing in the foregoing shall be
            construed to include any loss, damage or expense caused by or resulting from any of the risks
            or perils excluded above, excepting only the acts of certain agents expressly covered herein,
            but in no event shall this insurance include any loss, damage, or expense caused by or
            resulting from any weapon of war employing atomic fission or fusion whether in time of peace
            or war;

      H.    against mysterious disappearance, loss or shortage disclosed upon taking inventory, or any
            unexplained loss;
      I.    against any loss from the voluntary parting with title or possession of property if induced by
            any fraudulent act or by false pretense;

      J.    against insect, animal, or vermin damage;

      K.    against changes in temperature damage (except to machinery and equipment); or changes in
            relative humidity damage, all whether atmospheric or not;

      L.    Acts, Errors or Omissions exclusion shall apply only if a cause of loss otherwise excluded by
            this policy contributes to the loss or is a cause of the loss. Notwithstanding any of the terms of
            this policy that might be construed otherwise, this policy does not insure against loss or
            damage cause by any act, error or omission (whether by the Insured or others) in:

              (1)      planning, zoning, surveying, sitting or developing property;

              (2)      establishing or enforcing building codes or standards for construction or materials;

      M.    against underground mines, caverns or any property contained therein.

      N.    loss of Market Share

      Exclusions B, C, and E do not apply to property in transit.

      Exclusion C does not apply to alterations, additions, and property while in the course of construction,
      erection, installation, or assembly.

      Exclusions A through E do not apply to Service Interruption (as set forth in Clause 7. K.)

11.   PROPERTY EXCLUDED




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      This policy does not cover loss or damage to:

      A.    Land; however, this exclusion shall not apply to the cost of reclaiming, restoring or repairing
            land improvements. Land improvements are defined as any alteration to the natural condition
            of the land by grading, man-made landscaping, earthen dikes or dams, and additions to land
            such as pavements, roadways, or similar works;

      B.    Water, except water which is normally contained within any type of tank, piping system or
            other process equipment;

      C.    Money and securities, precious metals and jewelry;

      D.    Growing crops, standing timber which is grown or maintained specifically for purposes of
            conversion to lumber, and animals except for research;

      E.    Watercraft, aircraft, or motor vehicles licensed for highway use, but this exclusion shall not
            apply to contractor’s equipment;

      F.    Waterborne shipments via the Panama Canal, and to and from Puerto Rico, the Virgin Islands,
            Hawaii, and Alaska;

      G.    Export shipments after loading on board an overseas vessel or watercraft or after ocean
            marine insurance attaches, whichever occurs first; and import shipments prior to discharge
            from the overseas vessel or watercraft or until the ocean marine insurance terminates,
            whichever occurs last.

      H.    Offshore property which is seaward beyond the line of normal tidal low water along coastal
            land except that structures and their contents extending from land or shore, floating docks
            permanently moored to dock, river bank or shore are not to be considered as offshore.

      I.    As respects property damage only, transmission and distribution lines of every type and
            description; except when located on the Insured’s premises or within one-thousand (1,000)
            feet thereof.

12.   VALUATION

      In case of loss, the basis of adjustment shall be as follows:

      A.    Stock

            (1)      Raw Stock (materials and supplies in the state in which the Insured received them for
                     conversion by the Insured into finished stock, including supplies consumed in such
                     conversion or in the service rendered by the Insured) shall be valued at replacement
                     cost at the time and place of loss.

            (2)      Stock in process (raw stock which has undergone any aging, seasoning, or other
                     processing by the Insured but which has not become finished stock) shall be valued at
                     the Insured’s selling price of finished stock at the time of loss, less any manufacturing
                     expense not incurred by the Insured and less any discounts, rebates, and unincurred
                     expenses to which the sales price would have been subject.

            (3)      Finished stock (stock which in the ordinary course of the Insured’s business is ready
                     for packing, shipment or sale) and merchandise shall be valued at the Insured’s selling
                     price at the time of loss, less all discounts, rebates, and unincurred expenses to which
                     such sales price would have been subject.



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     B.     Real and Personal Property

             (1)     Buildings, structures, furniture and fixtures, machinery, equipment, improvements
                     and betterments, shall be valued at the replacement cost new on the same premises,
                     as of the date of replacement.

             (2)     Electronic Data Processing or control equipment and production machinery and
                     equipment or any part thereof shall be valued at the cost to repair or replace new on
                     the same premises as of the time of replacement except, that with respect to items
                     for which replacement with identical property is impossible, the replacement cost
                     shall be the cost of items similar to the destroyed property and intended to perform
                     the same function but which may include technological advances.

             (3)     Valuable papers and records shall be valued at the cost to reproduce the property as
                     of the date of reproduction including the cost of gathering and/or assembling
                     information;

                     “Valuable papers and records” are defined as written, printed, or otherwise inscribed
                     documents and records, including but not limited to books, maps, films, drawings,
                     abstracts, deeds, mortgages, micro-inscribed documents, manuscripts, and media
                     and the data recorded thereon, but not including money and/or securities.

                     “Media” is defined as materials upon which data is recorded including, but not limited
                     to, paper tapes, cards, electronic memory circuits, and magnetic or optical storage
                     devices. “Data” is defined as facts, concepts, or instructions in a form usable for
                     communications, interpretation, or processing by automatic means. It includes
                     computer programs.

                     The term “securities” shall mean all negotiable and non-negotiable instruments or
                     contracts representing either money or other property, and includes revenue and
                     other stamps in current use, tokens and tickets but does not include money.

             (4)     Property of others which the Insured is required to insure to a stipulated value shall
                     be valued at the replacement cost new as of the date of replacement, if replaced at
                     the Insured’s option; otherwise at the stipulated value.

             (5)     Fine Arts shall be valued at the appraised value; or, if there is no appraisal, at the
                     greater of the original acquisition cost or the market value at the time of the loss.

             (6)     Other property not otherwise provided for, at replacement cost new on the same
                     premises as of the date of replacement.

             (7)     Permission is granted for the Insured to replace the damaged property with any
                     property at the same site and/or at another site and/or new site within the territorial
                     limits of this policy, but recovery is limited to what it would cost to replace on same
                     site. If property damaged or destroyed is not repaired, rebuilt or replaced within a
                     reasonable period after the loss or damage, this company shall not be liable for more
                     that actual cash value at the time of loss (ascertained with proper deduction for
                     depreciation) of the property damaged or destroyed. However, limitations imposed
                     by federal, state or municipal building codes shall not result in actual cash valuation.

                     a) The Insured may elect not to repair or replace the insured real and/or personal
                        property lost, damaged or destroyed. Loss settlement may be elected on the
                        lesser of repair or replacement cost basis if the proceeds of such loss settlement



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                           are expended on other capital expenditures related to the Insured's operations
                           within two years from the date of loss. As a condition of collecting under this
                           item, such expenditure must be unplanned as of the date of loss and be made at
                           an Insured Location under this policy.

             (8)     For property in Transit the amount of recovery shall be the value stated on the
                     invoice, including prepaid or advance freight, if any, plus the profit or commission of
                     the named insured as selling agent, and such other cost and charges as may have
                     been accrued and become legally due thereon since shipment, In the absence of an
                     invoice, the measure of loss shall be actual cash value at the point of shipment after
                     taking into account all allowances for depreciation.

13.   EARTHQUAKE AND FLOOD

      A. Each loss by earthquake or flood shall constitute a single occurrence hereunder if:

           (1) more than one earthquake shock occurs within any period of 168 hours during the term of
               this policy, the beginning of which 168 hour period may be determined by the Insured; or

           (2) any flood occurs within a period of the continued rising or overflow of any river(s) or
               stream(s) and the subsidence of same within the banks of such river(s) or stream(s); or

           (3) any flood results from any tidal wave or series of tidal waves caused by any one
               disturbance.

            Earthquake is defined as a shaking or trembling of the earth that is tectonic in origin including
            resulting tsunami.

            Flood is defined as a rising and overflowing of a body of water onto normally dry land.

      B.    Should any time period referred to in Clause A. above commence prior to expiration or
            cancellation date of this policy, the Company(ies) shall pay all such Earthquake or flood losses
            occurring during such period as if such period fell entirely within the term of this policy.

      C.    The Company(ies) shall not be liable, however, for any loss caused by any Earthquake or flood
            commencing before the effective date and time or commencing after the expiration date and
            time of this policy.

14.   ACCIDENT

      The term “accident” is defined solely for the determination of the limits of liability and/or
      deductible(s) and application of the Sue and Labor and Suspension section only. The term “accident”
      shall not limit or define the perils or coverages provided elsewhere in this policy.

      A.    The term “accident” shall mean:

             (1)     Any condition or occurrence within boilers or fired or unfired vessels owned by,
                     operated by, or under the control of the Insured and subject to pressure or vacuum
                     including piping or apparatus attached to and forming a part thereof, except that the
                     words “any condition or occurrence” shall not include explosion, other than explosion
                     of the parts of a steam boiler containing steam or water, steam piping, steam
                     turbines, or steam engines;

             (2)     mechanical breakdown of any machine or apparatus arising out of any condition or
                     occurrence within such machine or apparatus;


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                 (3)     electrical injury or disturbance to electrical appliances, devices, fixtures, wiring, or
                         other electrical or electronic equipment caused by electrical currents artificially
                         generated.

                  However, the term “accident” does not include:

                 (1)     loss or damage from fire or from the use of water or other means to extinguish fire;
                         and

                 (2)     the normal operation of any safety or protective device;

      B.        The term “accident” shall not apply to the following property:

                 (1)     property in transit;

                 (2)     property while in the course of construction, erection, installation, or assembly;

                 (3)     electronic data processing systems used for administrative, statistical, or accounting
                         purposes;

                 (4)     any sewer piping, any piping forming a part of a fire protective system, or any water
                         piping other than:

                        (a)   boiler feed water piping;

                        (b)   boiler condensate return piping;

                        (c)   water piping used in a heat transfer system for cooling, humidifying, or space
                              heating purposes;
                 (5)     any vehicle, aircraft, or self-propelled equipment or floating vessel;

                 (6)     any elevator, crane, ladle or bucket, hoist, power shovel, drag line, excavator, scale,
                         or conveyor, but not excluding any pressure vessel, gears, engines or electrical
                         equipment used with a machine.

15.   CONTRIBUTING INSURANCE

      Contributing insurance is insurance written upon the same plan, terms, conditions, and provisions as
      those contained in this policy. This insurance shall contribute in accordance with the conditions of
      this policy only with other contributing insurance as defined.

16.   EXCESS INSURANCE

      Excess insurance is insurance over the limit of liability set forth in this Policy. The existence of such
      excess insurance shall not prejudice the coverage provided under this Policy nor will it reduce any
      liability hereunder.

      Step Down / Drop Down / Priority of Payments

           A.      Primary

                   Any recoveries made under the primary shall first apply to loss or damage not insured
                   against by the excess policy(ies). Upon exhaustion of the primary limit, the excess
                   policy(ies) shall step down and be liable for loss in the excess of the amount attributed to


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                   such policy as respects loss or damage insured thereunder subject to the excess policy(ies)
                   limits.

           B.      Excess

                   The amount of loss from any one occurrence, for which this policy is excess, shall be
                   determined by combining the loss, damage or expense as insured under the primary policy.

                   In the event of loss or damage involving more than one coverage or peril, the Limits of
                   Liability of the underlying policies shall first apply to the coverage(s) or peril(s) not insured
                   by this policy, and the remainder, if any, to the coverage(s) or peril(s) as provided
                   hereunder. Upon erosion or exhaustion of the Limits of Liability of underlying policy(ies),
                   this policy shall then be liable for the loss uncollected from the coverage(s) or peril(s)
                   insured hereunder, subject to the Limit of Liability specified herein.

                   In the event of reduction or exhaustion of the aggregate limit(s) in respect of flood and/or
                   earthquake designated in the underlying policy(ies), it is hereby understood and agreed
                   that such insurance as afforded by this policy shall apply in excess of the reduced or
                   exhausted underlying limits.

           Nothing herein contained shall be held to vary, alter, waive or change any of the terms, limits or
           conditions of the policy except as herein above set forth.

17.   UNDERLYING INSURANCE

      A.        Underlying insurance is insurance on all or any part of the deductible and against all or any of
                the causes of loss covered by this policy including declarations of value to the carrier for hire.
                The existence of such underlying insurance shall not prejudice or affect any recovery
                otherwise payable under this policy.
      B.        If the limits of such underlying insurance exceed the deductible amount, which would apply in
                the event of loss under this policy, then that portion which exceeds such a deductible amount
                shall be considered other insurance, as defined in the Other Insurance clause.

18.   OTHER INSURANCE

      Except for insurance described by the contributing insurance clause, the excess insurance clause, or
      the underlying insurance clause, this policy shall not cover to the extent of any other collectible
      insurance, whether directly or indirectly covering the same property against the same causes of loss.
      The Company(ies) shall be liable for loss or damage only to the extent of that amount in excess of
      the amount recoverable from such other collectible insurance. As used herein, “other collectible
      insurance” does not include self-insurance, deductibles, self-insured retentions or fronting policies.

19.   SUBROGATION

      A.        Any release from liability entered into by the Insured prior to loss hereunder shall not affect
                this policy or the right of the Insured to recover hereunder. The right of subrogation against
                the Insured, affiliated, subsidiary, and associated companies or corporations, the Insured’s
                officers, directors, and employees, or any other corporations or companies associated with the
                Insured through ownership or management, or between contractors, subcontractors, sub-
                subcontractors, and at the option of the Insured against a tenant, vendor, supplier, guest, or
                customer of the Insured, is waived.

            B. In the event of any payment under this policy, the Company(ies) shall be subrogated to the
               extent of such payment to all the Insured’s rights of recovery therefore. The Insured shall
               execute all papers required and shall do anything that may be reasonably necessary at the


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             expense of the Company(ies) to secure such right. The Company(ies) will act in concert with
             all other interests concerned, i.e., the Insured and any other Company(ies) participating in the
             payment of any loss as primary or excess insurers, in the exercise of such rights of recovery.

             If any amount is recovered as a result of such proceedings, the net amount recovered after
             deducting the cost of recovery shall be divided between the interests concerned in the
             proportion of their respective interests. If there should be no recovery, the expense of
             proceedings shall be borne by the insurers instituting the proceedings.

20.   SALVAGE AND RECOVERIES

      All salvages, recoveries and payments, excluding proceeds from subrogation and underlying
      insurance, recovered or received prior to a loss settlement under this policy, shall reduce the loss
      accordingly. If recovered or received subsequent to a loss settlement under this policy, such net
      amounts recovered shall be divided between the interests concerned, i.e. the Insured and any other
      Company(ies) participating in the payment of any loss, in the proportion of their respective interests.

21.   MACHINERY

      In case of loss or damage insured against to any part of a machine or unit consisting of two or more
      parts when complete for use, the liability of the Company(ies) shall be limited to the value of the part
      or parts lost or damaged or, at the Insured’s option, to the cost and expense of replacing or
      duplicating the lost or damaged part or parts or of repairing the machine or unit.

22.   ERRORS OR OMISSIONS

      Any unintentional error or omission made by the Insured shall not void or impair the insurance
      hereunder provided the Insured reports such error or omission as soon as reasonably possible after
      discovery by the Insured’s home office insurance department.

23.   NOTICE OF LOSS

      As soon as practicable after any loss or damage occurring under this policy is known to the Insured’s
      Home Office Insurance Department, the Insured shall report such loss or damage to Jodi Jennings,
      Lockton Inc., 4725 Piedmont Row Dr., Suite 510, Charlotte, NC 28210 for transmission to the
      Assigned Adjuster. Any delay by the Insured in providing notice shall not affect the Insured’s right to
      coverage under this policy, except if and to the extent that the Company(ies) proves that it actually
      and substantially was prejudiced by any unreasonable delay in notice.

24.   PROOF OF LOSS

      The Insured, at the request of the Company(ies), will render a signed and sworn proof of loss to the
      Company(ies) or its appointed representative stating: the place, time, cause of the loss, damage, or
      expense; the interest of the Insured and of all others; the value of the property involved in the loss;
      and the amount of loss, damage, or expense.

25.   PARTIAL PAYMENT OF LOSS

      In the event of a loss covered by this policy, it is understood and agreed that the Company(ies) will
      issue partial payment(s) of claim subject to the policy provisions, and shall not be less than the
      undisputed estimate of loss or damage between the Insured and the Company(ies).

26.   ASSIGNED ADJUSTER



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      It is agreed that at the Insured’s option, the Company will use:
       Michael R. Allen
       McLarens
      180 Montgomery Street, Suite 2100
      San Francisco, CA 94104

      for the adjustment of all claims made against this policy. This assignment may be changed by mutual
      consent of the Insured and the Company(ies). Copies of routine monthly/quarterly reports including
      reserve amounts to be copied to the Attention of Jodi Jennings, Lockton Inc., 4725 Piedmont Row
      Dr., Suite 510, Charlotte, NC 28210.

27.   APPRAISAL

      If the Insured and the Company(ies) fail to agree on the amount of the loss, each, upon written
      demand of either the Insured or the Company(ies) made within 60 days after receipt of proof of loss
      by the Company(ies), shall select a competent and disinterested appraiser. The appraisers shall then
      select a competent and disinterested umpire. If they should fail for 15 days to agree upon such
      umpire, then upon the request of the Insured or of the Company(ies), such umpire shall be selected
      by a judge of a court of record in the county and state in which such appraisal is pending. Then, at
      a reasonable time and place, the appraisers shall appraise the loss, stating separately the value at
      the time of loss and the amount of loss. If the appraisers fail to agree, they shall submit their
      differences to the umpire. An award in writing by any two shall determine the amount of loss and
      shall be paid by the Company(ies) within 30 days thereafter. The Insured and the Company(ies)
      shall each pay his or its chosen appraiser and shall bear equally the other expenses of the appraisal
      and of the umpire. However, if the award is greater than the amount offered by the Company(ies)
      in payment of the loss at any time before the award is rendered, then the Company(ies) shall pay
      100% of the fees and expenses for each appraiser and the umpire and for the appraisal.

28.   PAIR AND SET

      Except as provided under the Machinery clause and paragraph (3) of the Consequential Loss clause,
      in the event of loss or damage insured against to any article or articles which are a part of a pair or
      set, the measure of loss or damage to such article or articles shall be, at the Insured’s option:

      A.     the reasonable and fair proportion of the total value of the pair or set, giving consideration to
             the importance of said article or articles, but in no event shall such loss or damage be
             construed to mean total loss of the pair or set; or

      B.     the full value of the pair or set provided that the Insured surrenders the remaining article or
             articles of the pair or set to the Company(ies).

29.   ASSISTANCE AND COOPERATION OF THE INSURED

      The Insured shall reasonably cooperate with the Company(ies), and, at the Company’s reasonable
      request and expense, shall attend hearings and trials and shall assist in effecting settlements, in
      securing and giving evidence, in obtaining the attendance of witnesses and in conducting suits.

30.   SUE AND LABOR

      In case of actual or imminent loss or damage covered by this policy except imminent loss or damage
      as respects an “accident”, it shall, without prejudice to this insurance, be lawful and necessary for the
      Insured, their factors, servants, or assigns to sue, labor and travel for, in and about the defense, the
      safeguard, and the recovery of property or any part of the property insured hereunder; nor, in the
      event of loss or damage, shall the acts of the Insured or of the Company(ies) in recovering, saving,



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      and preserving the insured property be considered a waiver or an acceptance of abandonment. The
      Company(ies) shall pay the expenses so incurred.

31.   PAYMENT OF LOSS

      All adjusted claims shall be due and payable to 24 Hour Holdings I Corp. no later than 30 days after
      presentation and acceptance of proofs of loss by the Company(ies) or its appointed representative.

32.   REINSTATEMENT

      With the exception of loss caused by perils which are subject to annual aggregate limits as noted in
      Section 3, no loss hereunder shall reduce the amount of this policy.

33.   SUIT AGAINST THE COMPANY

      No suit or action on this policy for the recovery of any claim shall be sustainable in any court of law
      or equity unless the Insured shall have fully complied with all the requirements of this policy;
      however, if there is any dispute between the Insured and the as to whether the Insured has fully
      complied with all the requirements of this policy, such a dispute may be resolved in a suit or action
      on the policy for recovery of any claim. The Company(ies) agrees that any action or proceedings
      against it for recovery of any loss under this policy shall not be barred if commenced within
      two years and one day after the Insured provides notice to the Company(ies) in accordance with
      clause 23 above, which period shall be tolled from the date of notice until the date that the Insured
      receives the Company’s final coverage decision (this two year and one day period is referred to as
      the “limitations period”). However, the limitations period shall not apply if by the laws of the State of
      the address of the Insured such a limitation is invalid or if the laws of the state in which any such
      action is brought permit a longer period of time within which to commence such a suit.
      Furthermore, any tolling of the limitations period shall not preclude the Insured from bringing a suit
      or any other proceeding regarding recovery for any loss or of any claim hereunder during the period
      of tolling or at any other time. Prosecution of a suit by the Insured shall not be barred due to the
      failure of the Company(ies) to timely advise and notify the Insured of the expiration of any applicable
      dates to file and commence said suit.

      It is agreed that in the event of the failure of the Company(ies) to pay any amount claimed to be due
      hereunder or in the event of any other dispute relating to this policy, the Company(ies), at the
      request of the Insured, will submit to the jurisdiction of any court of competent jurisdiction within the
      United States and will comply with all of the requirements necessary to give such court jurisdiction
      and all matters hereunder shall be determined in accordance with the law and practice of such court,
      not including the court’s law regarding choice of law. The Company(ies) shall not transfer, change
      venue, or remove, or seek to transfer, change venue, or remove any lawsuit filed by the Insured in
      any such court.

34.   CERTIFICATES OF INSURANCE

      Any certificate of insurance issued in connection with this policy shall be issued solely as a matter of
      convenience or information for the addressee(s) or holder(s) of said certificate of insurance, except
      where any Additional Insured(s), Mortgagee(s) or Loss Payee(s) are named pursuant to the Special
      Provisions of said certificate of insurance. In the event any Additional Insured(s), Mortgagee(s) or
      Loss Payee(s) are so named, this policy shall be deemed to have been endorsed accordingly, subject
      to all other terms, conditions and exclusions stated herein.

      The Company(ies) hereby authorizes Lockton Companies, LLC to issue certificates of insurance
      including any Mortgagee, Loss Payee and Additional Insured clauses.




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35.   MORTGAGE CLAUSE

      Loss or damage, if any, under this policy, shall be payable to any mortgagee, (or trustee) as
      designated herein by endorsement or certificate of insurance, as interest may appear, under all
      present or future mortgages upon the property herein described in which the aforesaid may have an
      interest as mortgagee (or trustee), in order of precedence of said mortgages, and this insurance, as
      to the interest of the mortgagee (or trustee) only therein, shall not be invalidated by any act or
      neglect of the mortgagor or owner of the within described property, by any foreclosure or other
      proceedings or notice of sale relating to the property, nor by any change in the title of ownership of
      the property (provided the insured has an insurable interest in property), nor by the occupation of
      the premises for purposes more hazardous than are permitted by this policy; provided, that in case
      the mortgagor or owner shall neglect to pay any premium due under this policy, the mortgagee (or
      trustee) shall, on demand, pay the same.

      Provided, also, that the mortgagee (or trustee) shall notify the Company(ies) of any change of
      ownership or occupancy or increase of hazard which shall come to the knowledge of said mortgagee
      (or trustee) and, unless permitted by this policy, it shall be noted thereon and the mortgagee (or
      trustee) shall, on demand, pay the premium for such increased hazard for the term of the use
      thereof; otherwise this policy shall be null and void.

      The Company(ies) reserves the right to cancel this policy at any time as provided by its terms, but in
      such case this policy shall continue in force for the benefit only of the mortgagee (or trustee) for 10
      days after notice to the mortgagee (or trustee) of such cancellation and shall then cease, and the
      Company(ies) shall have the right, on like notice, to cancel this agreement.

      Whenever the Company(ies) shall pay the mortgagee (or trustee) any sum for loss or damage under
      this policy and shall claim that, as to the mortgagor or owner, no liability therefore existed, the
      Company(ies) shall, to the extent of such payment, be thereupon legally subrogated to all the rights
      of the party to whom such payment shall be made, under all securities held as collateral to the
      mortgage debt, or may, at its option, pay to the mortgagee (or trustee) the whole principal due or to
      grow due on the mortgage, with interest accrued thereon to the date of such payments, and shall
      receive a full assignment and transfer of the mortgage and of all such other securities; but not
      subrogation shall impair the right of the mortgagee (or trustee) to recover the full amount of said
      mortgagee’s (or trustee’s) claim.

36.   CANCELLATION

      A.     This policy may be canceled at any time at the request of the Insured or it may be canceled
             by the Company(ies) by mailing to the Insured at 12647 Alcosta Blvd., Suite 300, San Ramon,
             CA 94583, written notice stating when, not less than 90 days thereafter, such cancellation
             shall be effective. However, if such request by the Insured or the Company(ies) occur(s), all
             Additional Insured(s), Mortgagee(s) and Loss Payee(s) indicated on the certificates of
             insurance issued during the term of this policy shall receive written notice by mailing to the
             address(es) noted on the certificates, stating when, not less than 30 days thereafter, such
             cancellation shall be effective. The earned premium shall be computed on a pro rata basis if
             cancelled by the Insurer and on a short rate basis if the entire policy is cancelled by the
             Insured.

      B.     The mailing of notice as aforesaid shall be sufficient proof of notice and the effective date and
             hour of cancellation stated in the notice shall become the end of the policy period. Delivery of
             such written notice either by the Insured or by the Company(ies) shall be equivalent to
             mailing.




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      C.     Cancellation shall not affect coverage on any shipment in transit on the date of cancellation.
             Coverage will continue in full force until such property is safely delivered and accepted at
             place of final destination.

      D.     In the event of non-payment of premium this policy may be canceled by the Company(ies) by
             mailing to the Insured at the address shown in A. above stating when, not less than 10 days
             thereafter, such cancellation shall be effective.

      E.     Lockton Inc. will maintain and provide a list of all of the Additional Insured(s), Mortgagee(s)
             and Loss Payee(s) (including all necessary contact information) to the Company(ies) within 30
             days of cancellation.

37.   VACANCY

      Permission is granted to cease operations or remain vacant and/or unoccupied without limit of time,
      and such vacancy and/or unoccupancy shall not affect the insurance provided under this policy
      provided that any existing protective safeguards (including but not limited to security, automatic
      sprinkler protection) are maintained. For purposes of this coverage, locations are considered “vacant”
      and/or “unoccupied” if sixty nine percent (69%) or more of the total building area is vacant or
      unoccupied.

38.   JOINT LOSS AGREEMENT (AS APPLICABLE)

      With respect to insurance provided by this policy, it is agreed that:

      A.     If at the time of loss, there is in existence a policy(ies) issued by a boiler and machinery
             insurance Company(ies) and/or excess Difference in Conditions (DIC) insurance Company(ies)
             which may cover the same property or cover the location at which the property subject to loss
             is situated; and

      B.     if there is a disagreement between the companies under this policy and such other contract
             either as to:

             (1)     whether such damage or destruction is insured against by this policy or by an accident
                     insured against by such boiler and machinery insurance policy and/or excess DIC
                     insurance Company(ies); or

             (2)    the extent of participation of this policy and of such boiler and machinery insurance
                    policy and/or excess DIC insurance Company(ies) in a loss which is insured against,
                    partially or wholly, by any one or all of said policies;
            the Company(ies) shall, upon written request of the Insured, pay to the Insured one-half of
            the amount of the loss which is in disagreement, but in no event more than the Company(ies)
            would have paid if there had been no boiler and machinery insurance policy and/or excess DIC
            insurance policy in effect, subject to the following conditions:

             (1)     the amount of the loss which is in disagreement, after making provisions for any
                     undisputed claims payable under the said policies and after the amount of the loss is
                     agreed upon by the Insured and the companies is limited to the minimum amount
                     remaining payable under either the boiler and machinery and/or excess DIC or this
                     policy(ies);

             (2)     the boiler and machinery insurance Company(ies) and/or excess DIC insurance
                     Company(ies) shall simultaneously pay to the Insured at least one half of said amount
                     which is in disagreement;



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            (3)     the payments by the companies hereunder and acceptance of the same by the
                    Insured signify the agreement of the companies to submit to and proceed with
                    arbitration within ninety days of such payments;

                    The arbitrators shall be three in number, one of whom shall be appointed by the
                    boiler and machinery insurance Company(ies) and/or excess DIC insurance
                    Company(ies), one of whom shall be appointed by the Company(ies), and the third of
                    whom shall be appointed by consent of the other two; the decision by the arbitrators
                    shall be binding on the companies and that judgment upon such award may be
                    entered in any court of competent jurisdiction;

            (4)     the Insured agrees to cooperate in connection with such arbitration but not to
                    intervene therein;

            (5)     the provisions shall not apply unless such other policy issued by the boiler and
                    machinery insurance Company(ies) and/or excess DIC insurance Company(ies) is
                    similarly endorsed;

            (6)     acceptance by the Insured of sums paid pursuant to the provisions, including an
                    arbitration award, shall not operate to alter, waive, surrender or in any way affect the
                    rights of the Insured against any of the companies.

39.   VALUES

      The values and schedule of property declared to the Company(ies) at the inception of the policy are
      for premium purposes only and shall not limit the coverages provided by this policy.

40.   CONSTRUCTION SOFT COSTS

      “Construction soft costs” are defined to include cost of interest, additional cost of interest, loan
      points, marketing and promotional cost, taxes, insurance, security, contingency costs, advertising,
      broker fees, search costs and appraisal, and leasing commissions.

41.   TITLES OF PARAGRAPHS

      The titles of paragraphs of this form and of endorsements and supplemental contracts, if any, now or
      hereafter attached hereto are inserted solely for convenience of reference and shall not be deemed
      in any way to limit or affect the provisions to which they relate.

42.   CONFORMANCE

      The terms of this policy which are in conflict with the applicable statutes of the state wherein this
      policy is issued are hereby amended to conform to such statutes, unless the statutes narrow or limit
      the coverage afforded by this policy and do not bar a policy from providing broader coverage.




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ENDORSEMENT 1

INSURED: 24 Hour Holding I Corp.

EFFECTIVE DATE:            June 30, 2019

        The following provisions are hereby attached to and made part of this Policy:

Policy Language Applicable to the Individual Company(ies) Noted

In addition to each Company(ies)’s Declaration’s Page (excluding any pre-printed terms and conditions),
Price, Renewal Date, Premium Credits, Premium Payment Conditions, State Statue Amendatory
Endorsements and Producer Compensation Notices/Disclosures, if applicable; the following Company(ies)’s
endorsements, forms, exclusions, etc… are added and apply only towards the individual Company(ies)’s to
which such is noted. No other Company(ies) may claim such wording as their own, whether more or less
restrictive, in the event of loss to apply against all recovery.

The terms and conditions contained within this policy shall supersede those of any General Policy
Conditions, General Property Conditions; terms and conditions within a Policy Jacket; Fire Policy Form;
terms and conditions of the Declarations Page which conflict with the policy; and any other endorsements
or conditions added by the Company(ies) upon policy’s issuance or thereafter which are not noted in the
above paragraph or listed below or have not been previously advised and agreed to by the Insured.

Engineering fees, loss prevention fees, object certificates fees, plan reviews and subsequent services /
products, surplus lines taxes and fees, US FET Taxes and various state and local taxes and fees such as the
Florida Fire College Trust Fund and Florida Emergency Management, Preparedness & Assist Fund Trust for
the State of Florida and/or other statement assessments should be viewed as unequal as charged on an
individual Company basis separately from premium.

Continental Casualty Company

    x Terrorism Exclusion Endorsement
    x Economic and Trade Sanctions Condition Endorsement
    x Computer Virus Exclusion




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ENDORSEMENT 2

INSURED: 24 Hour Holding I Corp.

EFFECTIVE DATE:            June 30, 2019

        The following provisions are hereby attached to and made part of this Policy:

Interruption by Communicable Disease:

This policy is extended to cover the reasonable and necessary expenses incurred by the Insured to:

    a) Clean up, remove, and dispose of communicable diseases from insured property at a described
       location; and
    b) Restore the premises;

In a manner to satisfy the minimum requirements of any law or ordinance regulating communicable
diseases. This policy is also extended to cover business interruption (if provided) loss directly resulting
from items a) and b) above.

All coverage above must be directly resulting from access being prohibited to a described location or any
portion thereof:
     a) Due to the actual presence of and the spread of communicable diseases at that described location;
         and
     b) b) As a direct result of a declaration by a civil authority enforcing any law or ordinance regulating
         communicable diseases.

For the purpose of this extension, the presence of and the spread of communicable diseases will be
considered direct physical damage and the expenses listed in items a) and b) above will be considered
expenses to repair such damage. There will be no coverage to comply with any law or ordinance with
which the Insured was required to comply had the direct physical damage not occurred.


Communicable disease means a disease that:
   A. May be transmitted directly or indirectly by one person or other life form to another and;
   B. Is due to:
            1. An infectious agent; or
            2. A toxic product produced by such infectious agent.




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ENDORSEMENT 3

INSURED: 24 Hour Holding I Corp.

EFFECTIVE DATE: June 30, 2019

The following is hereby added to the policy:

Company Reimbursement for Certificate or Loss Payable Deductibles Provision

In situations where it shall be necessary to adjust a loss hereunder for the benefit of a party other than the
Insured, with application of a lower deductible provision indicated on a certificate of insurance or loss
payable endorsement, other than that stipulated under this policy, it is agreed that the loss shall be payable
subject to this other deductible provision.

It is further agreed that the Insured shall promptly pay the C om pany , after the payment of loss, for the
difference between the deductible amount which would have been applicable under this policy and the
deductible amount necessary to satisfy the claim with the other party. Further, with respect to loss(es) or
portion(s) thereof below the policy deductible, the Insured shall reimburse the Com pany for any additional
expenses incurred in the adjustment/investigation of said losses within this wording.

Such reimbursement shall be made within 15 business days, payable and forwarded to the Com pany .

This Endorsement applies to the following premises:

 Address                                                          Deductibles
 10616 Research Blvd, Austin TX 78759                             $10,000 AOP; $25,000 Earthquake and Flood
 10707 Westheimer Rd., Houston, TX 77042                          $10,000 AOP; $25,000 Earthquake and Flood
 11798 E Oswego St., Englewood, CO 80112 (Midwest HQ)             $10,000 AOP; $25,000 Earthquake and Flood
 11798 E Oswego St., Englewood, CO 80112 (Club 350)               $10,000 AOP; $25,000 Earthquake and Flood
 2100 Plaza Pkwy, Bedford, TX 76021                               $10,000 AOP; $25,000 Earthquake and Flood
 13395 Beach Boulevard, La Mirada, CA 90638                       $10,000 AOP
 6633 Auburn Boulevard, Citrus Heights, CA 95621                  $25,000 AOP
 601 South Rainbow Blvd, Las Vegas, NV 89128                      $50,000 AOP
 1335 W. Renaissance Parkway, Rialto, CA 92376                    $125,000 AOP

 641 S. Rancho Santa Fe Rd, San Marcos, CA 92069                  $25,000 AOP; $25,000 Earthquake and Flood




                             ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED




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Appendix A

Tier One (1) Counties

Designated Named Windstorm Areas

(States and Applicable Counties/Parishes)

State                 Tier I Counties
Alabama               Baldwin, Mobile
Florida               Entire State
Georgia               Bryan, Camden, Chatham, Glynn, Liberty, McIntosh
Hawaii                Entire State
Louisiana             Calcasieu, Cameron, Iberia, Jefferson, Lafourche, Livingston, Orleans, Plaquemines, St.
                      Mary, St. Bernanrd, St. Charles, St. James, St. Tammany, St. John the Baptist,
                      Tangipahoa, Terrebonne, Vermilion
Mississippi           Hancock, Harrison, Jackson
North Carolina        Beaufort, Bertie, Brunswick, Camden, Carteret, Chowan, Columbus, Craven, Currituck,
                      Dare, Hyde, Jones, New Hanover, Onslow, Pamlico, Pasquotank, Pender, Perquimans,
                      Tyrell, Washington
South Carolina        Beaufort, Berkley, Charleston, Colleton, Georgetown, Horry, Jasper
Texas                 Aransas, Brazoria, Calhoun, Cameron, Chambers, Galveston, Harris, Jackson, Jefferson,
                      Kenedy, Kleberg, Matagorda, Newton, Nueces, Orange, Refugio, San Patricio, Victoria,
                      Willacy
Virginia              Accomack, Chesapeake City, Gloucester, Hampton City, Isle of Wight, James City,
                      Lancaster, Mathews, Middlesex, Newport news, Norfolk City, Northampton,
                      Northumberland, Poquoson City, Portsmouth City, Suffolk City, Surry, Virginia Beach City,
                      Westmoreland, Williamsburg City, York

 New Madrid Earthquake Counties

(States and Applicable Counties/Parishes)

State                 Counties
Arkansas              Clay, Craighead, Crittenden, Cross, Greene, Jackson, Lawrence, Randolph, Sharp,
                      Mississippi, Poinsett
Illinois              Alexander, Bond, Clinton, Franklin, Hardin, Jackson, Jefferson, Johnson, Madison, Massac,
                      Monroe, Perry, Pope, Pulaski, Randolph, Saline, St. Clair, Union, Washington, Williamson
Indiana               Gibson, Pike, Posey, Vanderburgh, Warrick
Kentucky              Ballard, Calloway, Carlisle, Fulton, Graves, Hickman, Livingston, Marshall, McCracken,
Mississippi           Bolivar, Coahoma, De Soto, Marshall, Tate, Tunica,
Missouri              Bollinger, Butler, Cape Girardeau, Dunklin, Franklin, Iron, Jefferson, Madison, Mississippi,
                      New Madrid, Pemiscot, Perry, Reynolds, , Scott, St. Charles, St. Francois, St. Louis, Ste.
                      Genevieve, Stoddard, Warren, Washington, Wayne
Tennessee             Crockett, Dyer, Fayette, Gibson, Hardeman, Haywood, Lake, Lauderdale, Madison, Obion,
                      Shelby, Tipton.

Pacific Northwest Earthquake Counties
(States and Applicable Counties/Parishes)
State                  Counties
Washington             Callum, Jefferson, King, Kitsap, Mason, Pierce, San Juan, Skagit, Shohomish, Thurston,
                       Watcom


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                                                                            Policy Holder Notice - Countrywide


                          IMPORTANT INFORMATION
             NOTICE – OFFER OF TERRORISM COVERAGE;
            CONFIRMATION OF REJECTION OF COVERAGE;
 STATUTORY FIRE FOLLOWING TERRORISM COVERAGE IN CERTAIN STATES
THIS NOTICE DOES NOT FORM A PART OF YOUR POLICY, GRANT ANY COVERAGE OR CHANGE THE TERMS
AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.
As used herein, 1) “we” means the insurer listed on the Declarations or the Certificate of Insurance, as applicable; and 2)
“you” means the first person or entity named on the Declarations or the Certificate of Insurance, as applicable.
You are hereby notified that under the Terrorism Risk Insurance Act, as extended and reauthorized ("Act"), you have a
right to purchase insurance coverage of losses arising out of acts of terrorism, as defined in Section 102(1) of the Act,
subject to all applicable policy provisions. The Terrorism Risk Insurance Act established a federal program within the
Department of the Treasury, under which the federal government shares, with the insurance industry, the risk of loss from
future terrorist attacks.
This Notice is designed to alert you to coverage restrictions and to certain terrorism provisions in the policy. If there is any
conflict between this Notice and the policy (including its endorsements), the provisions of the policy (including its
endorsements) apply.
CHANGE IN THE DEFINITION OF A CERTIFIED ACT OF TERRORISM
The Act applies when the Secretary of the Treasury certifies that an event meets the definition of an act of terrorism.
Originally, the Act provided that to be certified, an act of terrorism must cause losses of at least five million dollars and
must have been committed by an individual or individuals acting on behalf of any foreign person or foreign interest to
coerce the government or population of the United States. However, the 2007 re-authorization of the Act removed the
requirement that the act of terrorism must be committed by or on behalf of a foreign interest, and now certified acts of
terrorism may encompass, for example, a terrorist act committed against the United States government by a United
States citizen, when the act is determined by the federal government to be "a certified act of terrorism."
In accordance with the Act, we are required to offer you the ability to purchase coverage for losses resulting from an act
of terrorism that is certified under the federal program. The other provisions of this policy, including nuclear, war or military
action exclusions, will still apply to such an act.
DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES
The Department of the Treasury will pay a share of terrorism losses insured under the federal program. In 2015, the
federal share equals 85% of that portion of the amount of such insured losses that exceeds the applicable insurer
retention, and shall decrease by 1 percentage point per calendar year until equal to 80%.
LIMITATION ON PAYMENT OF TERRORISM LOSSES
If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100
billion in a calendar year (January 1 through December 31), the Treasury shall not make any payment for any portion of
the amount of such losses that exceeds $100 billion.
Further, this coverage is subject to a limit on our liability pursuant to the federal law where, if aggregate insured losses
attributable to terrorist acts certified under the Act exceed $100 billion in a calendar year (January 1 through December
31) and we have met our insurer deductible under the Act, we shall not be liable for the payment of any portion of the
amount of such losses that exceeds $100 billion. In such case, insured losses up to that amount are subject to pro rata
allocation in accordance with procedures established by the Secretary of the Treasury.
CONFIRMATION OF REJECTION OF COVERAGE
In accordance with the Act, we offered you the ability to purchase coverage for losses resulting from an act of terrorism
that is certified under the federal program. This Notice confirms that you have chosen to reject our offer of coverage for
certified acts of terrorism to the extent possible. Consequently, if permitted by state law, a terrorism exclusion
endorsement is attached to the policy.


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                                                                           Policy Holder Notice - Countrywide
Certain states may not allow coverage for certified acts of terrorism to be rejected. If state law prohibits you from rejecting
certain coverage for certified acts of terrorism, the premium for such coverage is shown separately on the Declarations or
the Certificate of Insurance, if applicable.
Solely with respect to Property and Inland Marine coverages, by statute, for risks/locations in the states of: (i) CA, GA, HI,
IA, IL, MA, ME, MO, NC, NJ, NY, OR, RI, WA, WI, and WV for Property, and (ii) CA; ME; MO; OR; and WI for Inland
Marine, coverage is required to be provided for fire damage that results or follows from any cause of loss, even those that
are otherwise excluded. As a result, if this policy provides Property or Inland Marine coverage and excludes terrorism, we
nevertheless are statutorily required, with respect to such coverages, to insure against fire damage that might result from
otherwise excluded acts of terrorism in the referenced states.




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                                                                                               Policy Declarations

                                   SCHEDULE OF FORMS AND ENDORSEMENTS

Forms and endorsements attached to this Policy at inception are as follows:

FORM NAME                                                                          FORM NUMBER   FORM
                                                                                                 EDITION DATE
Policy Declarations                                                                G55161E       (01-17)
2019-20 24 Hour Fitness Worldwide Inc Policy Form.doc                                            (06-19)
Computer Virus Exclusion                                                           L1002A        (03-10)
Economic and Trade Sanctions Condition                                             LEOFAC02      (03-10)
Terrorism Exclusion                                                                L1001B        (03-10)




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                                                               Computer Virus Exclusion Endorsement
              THIS ENDORSEMENT CHANGES YOUR POLICY – PLEASE READ IT CAREFULLY.
Effective June 30, 2019, this policy is amended as follows:
It is hereby understood and agreed that the policy to which this endorsement is attached excludes coverage for any
physical damage, direct or indirect and any Time Element, direct or indirect, occasioned by or through or in
consequence, directly or indirectly, of Computer Virus, whether intentional or unintentional, and whether such loss
be direct or indirect, proximate or remote or be in whole or in part caused by, contributed to or aggravated by the
peril(s) insured against in this policy
In any action, suit or other proceeding, where the Company alleges that by reason of the provisions of this
condition any loss is not covered by this insurance, the burden of proving that such loss or damage is covered shall
be upon the Insured.
For the purposes of this policy and endorsement Computer Virus is hereby defined as any unauthorized intrusive
codes or programming that are entered by any means into covered data processing equipment, media, software,
programs, systems or records and interrupt the Insured’s operations at any covered locations.
For the purpose of this policy and endorsement, Time Element shall mean Business Interruption (Gross Earnings/
Loss of Profits), Extra Expense, Rents/ Rental Value, Leasehold Interest, Contingent Business Interruption,
Contingent Extra Expense, Interdependency.


All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
and expires concurrently with said Policy.




L1002A (03-10)                                                                             Policy No: 6013789648 
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CONTINENTAL CASUALTY COMPANY                                                          Effective Date:
Insured Name: 24 HOUR FITNESS WORLDWIDE INC
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                                       Economic and Trade Sanctions Condition Endorsement
              THIS ENDORSEMENT CHANGES YOUR POLICY – PLEASE READ IT CAREFULLY.
It is hereby understood and agreed that the policy to which this endorsement is attached is amended as follows:
The following condition is added:
ECONOMIC AND TRADE SANCTIONS CONDITION
In accordance with laws and regulations of the United States concerning economic and trade embargoes, this
policy is void ab initio (void from its inception) with respect to any term or condition of this policy that violates any
laws or regulations of the United States concerning economic and trade embargoes including, but not limited to the
following:
1.      Any insured, or any person or entity claiming the benefits of an insured, who is or becomes a Specially
        Designated National or Blocked Person or who is otherwise subject to U.S. economic or trade sanctions;
2.      Any claim or "suit" that is brought in a Sanctioned Country or by a Sanctioned Country Government, where
        any action in connection with such claim or suit is prohibited by U.S. economic or trade sanctions;
3.      Any claim or "suit" that is brought by any Specially Designated National or Blocked Person or any person
        or entity who is otherwise subject to U.S. economic or trade sanctions;
4.      Property that is located in a Sanctioned Country or that is owned by, rented to or in the care, custody or
        control of a Sanctioned Country Government, where any activities related to such property are prohibited
        by U.S. economic or trade sanctions; or
5.      Property that is owned by, rented to or in the care, custody or control of a Specially Designated National or
        Blocked Person, or any person or entity who is otherwise subject to U.S. economic or trade sanctions.
As used in this endorsement a Specially Designated National or Blocked Person is any person or entity that is on
the list of Specially Designated Nationals and Blocked Persons issued by the U.S. Treasury Department's Office of
Foreign Asset Control (O.F.A.C.) as it may be from time to time amended.
As used in this endorsement a Sanctioned Country is any country that is the subject of trade or economic
embargoes imposed by the laws or regulations of the United States of America.


All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
and expires concurrently with said Policy.




LEOFAC02 (03-10)                                                                             Policy No: 6013789648 
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CONTINENTAL CASUALTY COMPANY                                                            Effective Date:
Insured Name: 24 HOUR FITNESS WORLDWIDE INC
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                                                                            Terrorism Exclusion Endorsement
              THIS ENDORSEMENT CHANGES YOUR POLICY – PLEASE READ IT CAREFULLY.
It is hereby understood and agreed that the policy to which this endorsement is attached excludes coverage for any
loss or damage, direct or indirectly cause by or resulting from Terrorism regardless of any other cause or event,
whether or not insured under this policy, contributing concurrently or in any other sequence to the loss.
Terrorism shall mean the use or threat of force or violence against persons or property, or commission of an act
dangerous to human life or property, or commission of an act that interferes with or disrupts an electronic or
communication system, undertaken by any person or group, whether or not acting on behalf of or in connection
with any organization, government, power, authority or military force, when one or more of the following apply:
        The effect is to intimidate or coerce a government or business, or to disrupt any segment of the economy;
        The effect is to cause any alarm, fright, fear or danger, or apprehension of public safety; or
        The apparent or logically implied intent is to further political, ideological, religious or cultural objectives, or
        to express support for (or opposition to) a philosophy, ideology, religion or culture.
This exclusion does not apply to fire damage which results or follows from acts of Terrorism in the United States of
America in those states which require such coverage to be provided.


All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
and expires concurrently with said Policy.




L1001B (03-10)                                                                                Policy No: 6013789648 
Page 1 of 1                                                                            Endorsement No: 
CONTINENTAL CASUALTY COMPANY                                                             Effective Date:
Insured Name: 24 HOUR FITNESS WORLDWIDE INC
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